Case 15-05028   Doc 43-2 Filed 07/13/18 Entered 07/13/18 13:54:03
                 EXHIBIT B Rule 37 Discovery Letter Page 1 of 4
                                                                          Exhibit B
                                                                    Desc Exhibit
Case 15-05028   Doc 43-2 Filed 07/13/18 Entered 07/13/18 13:54:03   Desc Exhibit
                 EXHIBIT B Rule 37 Discovery Letter Page 2 of 4
Case 15-05028   Doc 43-2 Filed 07/13/18 Entered 07/13/18 13:54:03   Desc Exhibit
                 EXHIBIT B Rule 37 Discovery Letter Page 3 of 4
Case 15-05028   Doc 43-2 Filed 07/13/18 Entered 07/13/18 13:54:03   Desc Exhibit
                 EXHIBIT B Rule 37 Discovery Letter Page 4 of 4
